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                       UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA

                                       Criminal Minutes

Date: February 14, 2024              Judge: Honorable Charles R. Breyer

Court Reporter: Ruth Ekhaus
Time: 37 Minutes
Case No.: CR22-0326-1 CRB
Case Name: USA v. Leroy Wise (Present) (NC)

Attorney(s) for Government: Wendy Garbers
Attorney(s) for Defendant(s): Elizabeth Falk
Probation Officer: Katrina Chu
Pretrial Officer: Josh Libby

Deputy Clerk: Lashanda Scott


                                        PROCEEDINGS

Sentencing hearing held. The Court sentenced the defendant to the Bureau of Prisons to a term
of 30 days. This term consists of terms of 30 days on each of Counts One and Two, all counts to
be served concurrently. Defendant placed on supervised release for a term of 3 years on each of
Counts One and Two, all such terms to run concurrently. Defendant placed on supervised release
under the standard and special conditions. Defendant shall pay a special assessment of $200. The
Court finds the defendant does not have the ability to pay a fine and the Court orders it waived.
Refer to Judgment for additional information.
